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                          UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO



                                                Case No. 1:13-CR-0065-BLW
UNITED STATES OF AMERICA,
                                                MEMORANDUM DECISION AND
    Plaintiff,                                  ORDER

          vs.

ELAINE MARTIN

    Defendants.

       The Court has before it a motion to continue filed by the Government. The

defendant objects. The Court finds that the motion should be granted.

       The Speedy Trial Act gives the Court some more leeway setting trial after an

appeal:

       If the defendant is to be tried again following an appeal or a collateral attack,
       the trial shall commence within seventy days from the date the action
       occasioning the retrial becomes final, except that the court retrying the case
       may extend the period for retrial not to exceed one hundred and eighty days
       from the date the action occasioning the retrial becomes final if unavailability
       of witnesses or other factors resulting from passage of time shall make trial
       within seventy days impractical. The periods of delay enumerated in section
       3161(h) are excluded in computing the time limitations specified in this
       section.

42 U.S.C. §3161(e). The date the action “becomes final” for purposes of §3161(e) is the

date the mandate issues. See U.S. v. Ross, 654 F.2d 612 (9th Cir. 1981). In this case, the

mandate issued on September 29, 2015. If §3161(e) applies, trial could be set within 180




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days from that mandate, and thus the trial in this case could be held by March 28, 2016,

at the latest.

        “Section 3161(e) gives the trial court greater flexibility in setting cases for trial

following appeal than is provided in the initial indictment-to-trial cases.” U.S. v. Holley,

986 F.2d 100, 103 (5th Cir. 1993) (holding that the district court congestion and

understaffing justified 180 day extension).

        In this case, the trial was set by the Court on very short notice for a date

immediately after the Thanksgiving holiday. The trial was set by Order filed October 22,

2015, and so the parties and witnesses had only about a month of advance notice.

Consequently, Government witnesses are unavailable. Moreover, there has been an

almost complete turnover of Government counsel in this case. These circumstances

render it impractical to hold trial on November 30, 2015. Consequently, the Court will

grant the Government’s motion to continue, and continue the trial until February 8, 2016.

                                            ORDER

        In accordance with the Memorandum Decision set forth above,

        NOW THEREFORE IT IS HEREBY ORDERED, that the motion for continuance

(docket no. 389) is GRANTED.

        IT IS FURTHER ORDERED, that the present trial date of November 30, 2015, is

VACATED, and that trial be reset for February 8, 2016, at 1:30 p.m. in the Federal

Courthouse in Boise Idaho.

        IT IS FURTHER ORDERED, that the pretrial conference shall be held on January

28, 2016, at 4:00 p.m. by telephone with the Government to initiate the call. The Court

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can be reached at 208-334-9145. The defendant need not be on the line as only logistics

will be discussed.

       IT IS FURTHER ORDERED, that the defendant shall file all pretrial motions on

or before January 8, 2016.

                                                      DATED: November 13, 2015


                                                      _________________________
                                                      B. Lynn Winmill
                                                      Chief Judge
                                                      United States District Court




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